Case 18-17382-ref          Doc 21Filed 02/12/19 Entered 02/12/19 14:02:11                    Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE: Christopher Gerald Raab aka Christopher G.            BK NO. 18-17382 REF
Raab aka Christopher Raab
       Christopher Gerald Raab aka Christopher G.            Chapter 13
Raab aka Christopher Raab
                            Debtor(s)

Bayview Loan Servicing, LLC                                  Hearing Date: 02/21/19
                                 Movant

                vs.

Christopher Gerald Raab aka Christopher G. Raab
aka Christopher Raab
Christopher Gerald Raab aka Christopher G. Raab
aka Christopher Raab
                            Respondent(s)


                      OBJECTION OF BAYVIEW LOAN SERVICING, LLC
                         TO CONFIRMATION OF CHAPTER 13 PLAN

        Bayview Loan Servicing, LLC (hereinafter Secured Creditor), objects to confirmation of Debtor's
Chapter 13 plan and asserts in support of its Objection as follows:
        1.      On January 11, 2019, Secured Creditor filed a secured proof of claim setting forth pre-
petition arrears in the amount of $1,421.91.
        2.      Debtor's Plan provides for payment in the amount of $899.00 towards the arrearage claim
of the Secured Creditor.
        3.      Debtor’s Plan understates the amount of the Secured Creditor’s claim by $522.91, and
does not provide sufficient funding to pay said claim including present value interest.
        4.      Accordingly, Debtor's Plan is not feasible, as it does not fully compensate the Secured
Creditor.
        5.      In addition, the Debtor’s Plan fails to comply with 11 U.S.C. §§ 1322 and 1325.
        WHEREFORE, the Secured Creditor, Bayview Loan Servicing, LLC, prays that the Court deny
confirmation of the Debtor’s Plan.

                                                  Respectfully submitted,

Date: February 12, 2019
                                                  By: /s/ Kevin G. McDonald, Esquire
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